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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
                     v.                       :                21-CR-175 (TJK)
                                              :
 ETHAN NORDEAN,                               :
 also known as “Rufio Panman,”                :
                                              :
 JOSEPH BIGGS,                                :
                                              :
 ZACHARY REHL,                                :
                                              :
 CHARLES DONOHOE,                             :
                                              :
 ENRIQUE TARRIO,                              :
 also known as “Henry Tarrio,”                :
                                              :
 DOMINIC PEZZOLA,                             :
 also known as “Spaz,”                        :
 also known as “Spazzo,”                      :
 also known as “Spazzolini,”                  :
                                              :
                          Defendants.         :


                                           ORDER

       Upon consideration of the Government’s Motion to Vacate Trial Date and to Exclude Time

Under the Speedy Trial Act, it is for good cause shown ORDERED that the Government’s motion

is GRANTED. The trial date, presently scheduled for May 18, 2022, is VACATED. Jury

selection in this case shall now commence on _______________________________. It is

       FURTHER       ORDERED        That    the    time    between     today’s   date    and

______________________________ shall be excluded from calculation under the Speedy Trial
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Act for the reasons stated in the government’s motion. See 18 U.S.C. § 3161(h)(6), (h)(7)(A), &

(h)(7)(B)(i), (ii), and (iv).



        ______________                                    ____________________________
        Date                                              Timothy J. Kelly
                                                          United States District Judge




                                              2
